Case 2:10-cr-00005-JRG-RSP                Document 338          Filed 11/30/11       Page 1 of 1 PageID #:
                                                 853


                                United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                            M ARSHALL DIVISION


    UNITED STATES OF AMERICA                            §
                                                        §
    V.                                                  §            CASE NO. 2:10CR5(13)
                                                        §
    FERNANDO ESPINOSA OROZCO                            §


                   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                             FINDING DEFENDANT GUILTY

            On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of the 4th Superseding

    Indictment in violation of 21 U.S.C. § 846, Conspiracy to Possess with Intent to Distribute more than one

    (1) kilogram of herion, a Schedule I controlled substance, and more than five (5) kilograms of cocaine, a

    Schedule II controlled substance. Having conducted a proceeding in the form and manner prescribed by Fed.

    R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea of the Defendant. No

    objections to the Findings of Fact and Recommendation have been filed. The Court is of the opinion that

    the Findings of Fact and Recommendation should be accepted.

.           It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed November 15, 2011, are hereby ADOPTED.

            It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 1 of the 4th Superseding Indictment in the above-numbered cause.

            SIGNED this 30th day of November, 2011.




                                                            ____________________________________
                                                            DAVID FOLSOM
                                                            UNITED STATES DISTRICT JUDGE
